                                                                               Case 18-14683-leb                          Doc 130     Entered 09/05/18 10:37:10     Page 1 of 2



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                                                                          3
                                                                          4Entered on Docket
                                                                          September 05, 2018
                                                                        __________________________________________________________________
                                                                          5
                                                                          6   Jeanette E. McPherson, Esq. NV Bar No. 5423                           Michael St. James, CSB No. 95653
                                                                              Schwartzer & McPherson Law Firm                                       (Pro Hac Vice)
                                                                          7   2850 South Jones Boulevard, Suite 1                                   ST. JAMES LAW, P.C.
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                                                                              Telephone:    (702) 228-7590                                          San Francisco, California 94111
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                                                                         10                                                                         Email: michael@stjames-law.com
SCHWARTZER & MCPHERSON LAW FIRM




                                                                         11   Attorneys for Seaker & Sons, a California Partnership

                                                                         12                                                    UNITED STATES BANKRUPTCY COURT
                            Tel: (702) 228-7590 · Fax: (702) 892-0122
                              2850 South Jones Boulevard, Suite 1
                                 Las Vegas, Nevada 89146-5308




                                                                         13                                                          DISTRICT OF NEVADA

                                                                         14   In re:                                                             Case No. BK-S-18-14683-LEB

                                                                         15   GUMP’S HOLDINGS, LLC,                                              Chapter 11

                                                                         16                                                             Debtor. Jointly administered with:
                                                                                                                                                No. BK-S-18-14684 (In re Gump’s Corp.)
                                                                         17                Affects this Debtor.                                 No. BK-S-18-14685 (In re Gump’s By Mail,
                                                                                                                                                Inc.)
                                                                         18                Affects all Debtors.
                                                                                           Affects Gump’s Corp.                                  ORDER SHORTENING TIME TO HEAR
                                                                         19
                                                                                                                                                 LANDLORD’S MOTION FOR ADEQUATE
                                                                         20                Affects Gump’s By Mail, Inc.                          PROTECTION; NOTICE OF HEARING

                                                                         21                                                                         Hearing Date: September 11, 2018
                                                                                                                                                    Hearing Time: 9:30 A.M.
                                                                         22
                                                                         23   TO:          ALL PARTIES IN INTEREST

                                                                         24                PLEASE TAKE NOTICE that upon an Ex Parte Application For An Order Shortening

                                                                         25   Time To Hear Landlord’s Motion For Adequate Protection, and good cause appearing, the Court

                                                                         26   finds that there is a situation which justifies shortening the time for hearing, and it is

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                                                                         28   ///


                                                                              OST Order Re Adequate Protection Motion v2.doc
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                                                                         1                ORDERED that the hearing on the Landlord’s Motion For Adequate Protection [ECF No.
                                                                         2   125] (“Motion”)1 will be heard before a United States Bankruptcy Judge in the Foley Federal

                                                                         3   Building, Bankruptcy, 300 Las Vegas Blvd. South, Las Vegas, Nevada in Courtroom Number 3
                                                                         4                             September 11
                                                                             on the Third Floor on _________________,                       9:30 A.M.
                                                                                                                      2018 at the hour of _____________.
                                                                         5                IT IS FURTHER ORDERED that the Motion together with any supporting documents,
                                                                         6   and this Order Shortening Time shall be served to all interested parties no later than one business
                                                                         7   day after the entry of the Order Shortening Time. Any objections or oppositions to the Motion
                                                                         8                      September 7, 2018
                                                                             shall be filed by _________________________. Any replies to the objections or oppositions shall
                                                                         9                   September 10, 2018
                                                                             be filed by ____________________________. This hearing may be continued from time to time
                                                                        10   without further notice except for the announcement of any adjourned dates and times at the above
SCHWARTZER & MCPHERSON LAW FIRM




                                                                        11   noticed hearing or any adjournment thereof.
                                                                        12                For a copy of the filed Motion you may obtain a copy from the Bankruptcy Court online
                            Tel: (702) 228-7590 · Fax: (702) 892-0122
                              2850 South Jones Boulevard, Suite 1
                                 Las Vegas, Nevada 89146-5308




                                                                        13   through Pacer at www.nvb.uscourts.gov, or you may contact Schwartzer & McPherson Law Firm
                                                                        14   by email: bkfilings@s-mlaw.com; facsimile: 702-892-0122; or by telephone: (702) 228-7590.
                                                                        15   Submitted by:
                                                                        16   /s/ Jeanette E. McPherson
                                                                             Jeanette E. McPherson, Esq.
                                                                        17   Schwartzer & McPherson Law Firm
                                                                             2850 South Jones Boulevard, Suite 1
                                                                        18
                                                                             Las Vegas NV 89146-5308
                                                                        19   and
                                                                        20   Michael St. James, CSB No. 95653
                                                                             (Pro Hac Vice)
                                                                        21   ST. JAMES LAW, P.C.
                                                                             22 Battery Street, Suite 888
                                                                        22
                                                                             San Francisco, California 94111
                                                                        23   Attorneys for Seaker & Sons, a California Partnership
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                                                                                 Unless otherwise defined herein, all capitalized terms have the meanings ascribed them in the Motion.



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